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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF TEXAS,
DALLAS DIVISION

VIBRADERM, INC.,
Plaintiff,

V. Civil Action No. 3-07CV1331-M
MULTIDERM, L.L.C. SUCCESSOR
TO MULTIDERM, INC., TIMOTHY G.
CARROLL, INDIVIDUALLY AND AS
AGENT FOR MULTIDERM, INC.
AND MULTIDERM, L.L.C.; JAMES
JANSING, INDIVIDUALLY AND AS
AGENT FOR MULTIDERM, L.L.C.
DOES 1, AND 2 AS AGENTS FOR
MULTIDERM, L.L.C.; AND DOES “xX”
INDIVIDUALLY AND AS AGENTS
FOR MULTIDERM, L.L.C.

LN LN LLM LN LN LN LN LN LL L279 LN LO? LN LN LM

Defendants.
STIPULATION OF DISMISSAL
COMES NOW, Plaintiff Vibraderm, Inc. and Defendants Multiderm, L.L.C. and
Timothy G. Carroll, by and through counsel, and hereby stipulate to a dismissal of all claims of
Plaintiff without prejudice to refiling same in a state or federal court having jurisdiction over the
matter. The parties further stipulate that all counterclaims of Defendants are dismissed without
prejudice to refiling same. No prejudice shall attach to any claim or defense, and the parties
stipulate that Fed. R. Civ. Pro. Rule 41(a)(1)(B) does not apply. The parties further stipulate that
pursuant to Fed. R. Civ. Pro. Rule 41(d) each party shall bear their own costs incurred in this

action.

 

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Respectfully Submitted,

_s/_ David J. Moraine

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STIPULATION OF DISMISSAL

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SO ORDERED:

 

Barbara M. G. Lynn
United States District Judge

 

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